GRANTED.


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
       v.                                   )        3:10-cr-00164
                                            )
WILLIAM HATFIELD.                           )

                          MOTION TO DISMISS INDICTMENT

       COMES NOW the United States of America, by and through the undersigned Assistant

United States Attorney, and, to formally move this Court to dismiss the indictment as to this

defendant in this case without prejudice.   The defendant has entered an agreement for pretrial

diversion.

                                                     Respectfully submitted,

                                                     JERRY E. MARTIN
                                                     United States Attorney
                                                     Middle District of Tennessee


                                                       s/ B.H. Boucek
                                                     BRADEN H. BOUCEK
                                                     Assistant U. S. Attorney
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